Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 1 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 2 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 3 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 4 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 5 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 6 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 7 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 8 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                         Main Document    Page 9 of 58
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                        Main Document    Page 10 of 58




                  EXHIBIT A
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                           14 of
                        Main Document58 Page 11 of 58




                                                                 EXHIBIT A
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                        Main Document58 Page 12 of 58




                                                                 EXHIBIT A
Case
 Case2:16-bk-17571-BR
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                                                                           16 of
                        Main Document58 Page 13 of 58




                                                                 EXHIBIT A
Case
 Case2:16-bk-17571-BR
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                                                                           17 of
                        Main Document58 Page 14 of 58




                                                                 EXHIBIT A
Case
 Case2:16-bk-17571-BR
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                                                                           18 of
                        Main Document58 Page 15 of 58




                                                                 EXHIBIT A
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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                                                                           19 of
                        Main Document58 Page 16 of 58




                                                                 EXHIBIT A
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                        Main Document    Page 17 of 58




                  EXHIBIT B
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                        Main Document58 Page 18 of 58




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 Case2:16-bk-17571-BR
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                                                                           21 of
                        Main Document58 Page 19 of 58




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Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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                                                                           22 of
                        Main Document58 Page 20 of 58




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Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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                                                                           23 of
                        Main Document58 Page 21 of 58




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Case
 Case2:16-bk-17571-BR
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                                                                           24 of
                        Main Document58 Page 22 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 23 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 24 of 58




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 Case2:16-bk-17571-BR
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                                                                           27 of
                        Main Document58 Page 25 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 26 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 27 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 28 of 58




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 Case2:16-bk-17571-BR
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                                                                           31 of
                        Main Document58 Page 29 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 30 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 31 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 32 of 58




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 Case2:16-bk-17571-BR
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                        Main Document58 Page 33 of 58




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 Case2:16-bk-17571-BR
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                                                                           36 of
                        Main Document58 Page 34 of 58




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 Case2:16-bk-17571-BR
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                                                                           37 of
                        Main Document58 Page 35 of 58




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 Case2:16-bk-17571-BR
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                                                                           38 of
                        Main Document58 Page 36 of 58




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 Case2:16-bk-17571-BR
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                                                                           39 of
                        Main Document58 Page 37 of 58




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 Case2:16-bk-17571-BR
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                                                                           40 of
                        Main Document58 Page 38 of 58




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 Case2:16-bk-17571-BR
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                                                                           41 of
                        Main Document58 Page 39 of 58




                                                                 EXHIBIT B
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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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                                                                           42 of
                        Main Document58 Page 40 of 58




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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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                                                                           43 of
                        Main Document58 Page 41 of 58




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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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                                                                           44 of
                        Main Document58 Page 42 of 58




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Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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                                                                           45 of
                        Main Document58 Page 43 of 58




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 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
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                                                                      PageDesc
                                                                           46 of
                        Main Document58 Page 44 of 58




                                                                 EXHIBIT B
Case 2:16-bk-17571-BR   Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                        Main Document    Page 45 of 58




                  EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                15:00:06
                                                                      PageDesc
                                                                           47 of
                        Main Document58 Page 46 of 58




                                                                 EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                           48 of
                        Main Document58 Page 47 of 58




                                                                 EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                      PageDesc
                                                                           49 of
                        Main Document58 Page 48 of 58




                                                                 EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                           50 of
                        Main Document58 Page 49 of 58




                                                                 EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                           51 of
                        Main Document58 Page 50 of 58




                                                                 EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                           52 of
                        Main Document58 Page 51 of 58




                                                                 EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                      PageDesc
                                                                           53 of
                        Main Document58 Page 52 of 58




                                                                 EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                      PageDesc
                                                                           54 of
                        Main Document58 Page 53 of 58




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Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                           55 of
                        Main Document58 Page 54 of 58




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Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                                15:00:06
                                                                      PageDesc
                                                                           56 of
                        Main Document58 Page 55 of 58




                                                                 EXHIBIT C
Case
 Case2:16-bk-17571-BR
      2:16-bk-17571-BR Claim
                        Doc 44
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                                                         Document
                                                                15:00:06
                                                                      PageDesc
                                                                           57 of
                        Main Document58 Page 56 of 58




                                                                 EXHIBIT C
        Case 2:16-bk-17571-BR                      Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06                                     Desc
                                                   Main Document    Page 57 of 58


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
4375 Jutland Drive/Suite 200/P.O. BOX 17933/San Diego, CA 92177

                                                                       Stipulation Authorizing The Use of Cash Collateral
A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
12/01/2016          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  United States Trustee, ustpregion16.la.ecf@usdoj.gov
  United States Trustee (represented by): Ron Maroko, ron.maroko@usdoj.gov
  Attorney for Debtor: Thomas B Ure, tbuesq@aol.com

                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              12/01/2016        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Honorable Judge Barry Russell                                            DEBTOR
   Suite 1660, Courtroom 1668                                               Alvaro A. Bautista
   255 E. Temple Street                                                     10527 Saint James
   Los Angeles, CA 90012                                                     South Gate, CA 90280
                                                                                       ✔ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/01/2016                      Esteban Garcia                                                 /s/ Esteban Garcia
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
Case 2:16-bk-17571-BR       Doc 44 Filed 12/01/16 Entered 12/01/16 15:00:06   Desc
                            Main Document    Page 58 of 58



VIA ELECTRONIC NOTICE:

OTHER PARTIES IN INTEREST

Merdaud Jafarnia, bknotice@mccarthyholthus.com

Cassandra J Richey, cmartin@pralc.com

Edward A Treder, cdcaecf@bdfgroup.com



VIA FIRST CLASS U.S. MAIL:

ATTORNEY FOR DEBTOR

Ure Law Firm
800 W 6th Street, Suite 5
Los Angeles, CA 90017
